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                   UNITED STATES DISTRICT COURT
                    MIDDLE DISTRICT OF FLORIDA
                          OCALA DIVISION

PROPERTIES OF THE                       CASE NO. 5:24-cv-316-TJC-PRL
VILLAGES, INC.
v.
FEDERAL TRADE
COMMISSION

Counsel for Plaintiff:                  Counsel for Defendant:
Stacey K. Grigsby, Esq.                 Rachael Westmoreland, Esq.
Lauren Willard Zehmer, Esq.
Patrick M. Muldowney, Esq.
Meagan Leigh Martin, Esq.


                  HONORABLE TIMOTHY J. CORRIGAN
                   UNITED STATES DISTRICT JUDGE

Courtroom Deputy: Timothy Luksha
Court Reporter: Shannon Bishop


                           CLERK’S MINUTES

PROCEEDINGS OF HEARING: Motion Hearing

The Court heard argument on Plaintiff's Motion for Stay of Effective Date
and Preliminary Injunction and Incorporated Memorandum of Law (Doc. 25).

Plaintiff's Motion for Stay of Effective Date and Preliminary Injunction and
Incorporated Memorandum of Law (Doc. 25) is GRANTED.

Order to enter.




 DATE: August 14, 2025                         TIME: 2:02 p.m. – 4:54 p.m.
                                            TOTAL: 2 hours and 52 minutes
